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                   -E+UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

           v.                                        21-cr-570 APM

LANDON KENNETH COPELAND



                 MOTION TO IGNORE UNTIMELY FILED
                     VICTIM IMPACT STATEMENT



     At 12:30 on May 8th, 2023 counsel was served with a document
labeled "Victim Impact Statement." Counsel respectfully request the Court
ignore the letter from Sgt. Gonnell as untimely filed and in violation of Due
Process. The defendant in the past two years was never given Notice or an
opportunity to be heard on the allegations directed at Mr. Copeland.


     There are thousands of hours of videos, including several sent to the
Court for Sentencing by the Government. Throughout the two years this
case has been pending the only official victim known to counsel or the
defendant was Officer T.R. See Statement of Offense. p. 4 See PSR p. 10.
The only victim known to Copeland or disclosed to counsel is Officer T.R.
See PSR p. 13 ¶ 39.

        Counsel has spoken with DoJ Romano about the late Government
filing. Counsel and the defendant have been blind-sided by this filing. There
is nothing in the discovery, the Statement of Facts, the PSR or the
Government Sentencing Memo that refers to Sgt. Gonnell. There is no
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evidence known to the defendant or counsel linked to the specific
allegations.

     We ask the Court to not consider the specific allegations of Sgt.
Gonnell as to Mr. Copeland for these and such other reasons as will be
presented in Court.

                                 Respectfully submitted,
                                 _________/s/_______________________
                                 H. Heather Shaner. #273276
                                 Appointed by the Court
                                 for Landon Copeland




                                 __________/s/_______________________
                                 Ryan Stout Co Couse;
